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                            UNITED STATES DISTRICT COURT
                                       FOR THE
                             DISTRICT OF NEW HAMPSHIRE


KURT WEST,                                     )
                                               )
       Plaintiff                               )
v.                                             )
                                               )      Civil Action No. 10-cv-214-JL
BELL HELICOPTER TEXTRON, INC.,                 )
GOODRICH PUMP AND ENGINE                       )
CONTROL SYSTEMS, INC., AND                     )
ROLLS-ROYCE                                    )
CORP.                                          )
                                               )
       Defendants                              )


              STIPULATION OF DISMISSAL SUBJECT TO 30 DAY ORDER

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff Kurt

West and Defendants Bell Helicopter Textron, Inc., Goodrich Pump and Engine Control

Systems, Inc., and Rolls-Royce Corporation hereby stipulate that all claims, as well as all

pending or potential motions or other pending or potential requests for relief, by all parties, are

dismissed with prejudice and without costs, to become final in 30 days upon completion of

Defendants’ payment obligation. Thereafter, all rights of appeal are waived.

Submitted December 21, 2017,

                                                      KURT WEST

                                                      By his Attorneys,


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                                 ROLLS-ROYCE CORPORATION

                                 By its Attorneys,


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                                 GOODRICH PUMP AND ENGINE
                                     CONTROL SYSTEMS, INC.

                                 By its Attorneys,

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                                 BELL HELICOPTER TEXTRON, INC.

                                 By its Attorneys,
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                                 /s/ Brian M. Quirk
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